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                             UNITED STATES DISTRICT COURT
   14                       CENTRAL DISTRICT OF CALIFORNIA
   15                             WESTERN DIVISION
   16
        TIMOTHY ANDREWS                          )
   17            Plaintiff,                      ) Case No.: 2:21-cv-00297-CAS-KK
   18                                            )
              vs.                                ) JUDGMENT
   19                                            )
   20   KILOLO KIJAKAZI,                         )
        Acting Commissioner of Social            )
   21
        Security,1                               )
   22
                   Defendant.                    )
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                                                 )
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   26
         Kilolo Kijakazi became the Acting Commissioner of Social Security on July 9,
        2021. Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, Kilolo
   27   Kijakazi should be substituted, therefore, for Andrew Saul as the defendant in this
   28   suit. No further action need be taken to continue this suit by reason of the last
        sentence of section 205(g) of the Social Security Act, 42 U.S.C. § 405(g).


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    1         The Court having approved the parties’ stipulation to remand this case
    2   pursuant to Sentence 4 of 42 U.S.C. § 405(g) for further proceedings consistent
    3   with that stipulation and for entry of judgment for Plaintiff, judgment is hereby
    4   entered for Plaintiff.
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    6
        DATED: November 29, 2021
    7                                   HONORABLE JUDGE KENLY KIYA KATO
                                        UNITED STATES MAGISTRATE JUDGE
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